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  E lizabeth Sines et aI,

                            Plaintiffts)
                                                     C ivilA ction N o.3'
                                                                        :17-cv-00072

  Jason K essler et a1,

                            Defendantts).

                                 CLERK':EXTIW UF DEFXVLT
         Theaboveactièn wasfiled in thisCourtonM arch 14,2018. TheDefendantts)Andrew
  Anglin and M oonbase Holdings LLC was/were served on the following dates,and the Plaintiff
  hasprovided to thecourtan affidavitand/orotherevidence dem onstrating properservice ofthe
  complaintonDefendantts):

  M drew AnglinandM oonbaseHoldingsLLC            Febniary 1,2018
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         Thetimeforthedefendantts)to appear,answerorothem isedefendhaving expir
                                                                              'ed,the
  undersignedClerkdoesherebyenterdefaultastothefollowingdefendantts):
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         SeeFederalRulesofCivilPrôcedure,Rule55(a).                         .


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  Defendantts).

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